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             EXHIBIT 35
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       ADDITIONAL INFORMATION AND EXPLANATIONS




       1. INFORMATION ON SIGNIFICANT EVENTS RELATING TO PREVIOUS YEARS, INCLUDED IN THE FINANCIAL STATEMENTS OF THE YEAR
              ROTARY

               Until the date of preparation of the financial statements for the financial year 2021, there were no events relating to previous years that were not, but should be, included in
               the financial statements of the financial year.



           2. INFORMATION ON SIGNIFICANT EVENTS THAT OCCURED AFTER THE BALANCE SHEET DATE AND NOT INCLUDED IN THE STATEMENT
               FINANCIAL

               After the balance sheet date and until the date of preparation of the financial statements for the financial year 2021, there were no events that should be included in the financial statements
               for the financial year.
               The war in Ukraine destabilized the economy, including the steel industry. Despite this situation, the Company retains the ability to conduct business. War risk had no impact
               on the impairment of financial and non-financial assets. The company is not dependent on purchases from Ukraine. The Company's activities currently consist of reprocessing
               activities and related services. The Company does not sell its products to end users, nor is it directly threatened by their possible financial failure.


       3. CHANGES IN ACCOUNTING PRINCIPLES (POLICY) IN THE FINANCIAL YEAR
               The financial statements for the current and previous financial year were prepared using identical principles, both the accounting (policy) and the methods of presenting data in
               the financial statements.



       4. ERROR CORRECTION
              In the current financial year, no corrections of errors were made that could affect the comparability of the financial data for the previous year with the data of the financial
              statements for the current financial year.




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           5. COMPARABILITY OF THE FINANCIAL DATA FOR THE PREVIOUS YEAR WITH THE DATA OF THE FINANCIAL STATEMENTS FOR THE CURRENT YEAR
               ROTARY

               The financial statements for the current and previous reporting periods were prepared using identical principles, both accounting (policy) and methods of presenting data in the
               financial statements.




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       6. PROPERTY, PLANT AND EQUIPMENT


        1. PROPERTY, PLANT AND EQUIPMENT
        Year ended on 31 December 2021



                                                                                      Increasing the initial                                                                   Decrease of the
                                                            Initial
                                                                                          value                                                                                    initial value                                                                           Residual
                                                         value                                                                                          Total                                                                                     Total
           The name of the generic                       (gross) - as at the                                                                         increases                                                                                 decrease in             value - as at the
               group of fixed assets                      beginning of                                                                                 initial                                                                                   the initial           end of the
                                                              the year                                                                               value                                                                                     value                     financial year
                                                          rotary
                                                                                Update                    Revenue            Displacements                                   Sale           Liquidation                 Other




        1. Land 2.                                                     0.00                           48,348,999.98                                    48,348,999.98                                                                                           0.00 48,348,999.98

        Buildings 3.                                                   0.00                           61,925,999.89                                    61,925,999.89                                                                                           0.00      61,925,999.89
        Technical equipment and
        machinery                                                      0.00                         116,016,797.97                                    116,016,797.97                                                                                           0.00 116 016 797.97

        4. Means of transport                                          0.00                               1,662,890.73                                   1,662,890.73                                                                                          0.00        1,662,890.73
        5. Other fixed assets                                          0.00                               1 612 151.62                                   1 612 151.62                                                                                          0.00        1,612,151.62
        6. Fixed assets under construction                             0.00                         232 469 502.49                                    232 469 502.49                                              230,141,669.58                  230 141 669.58          2,327,832.91

        TOGETHER                                                       0.00           0.00 462 036 342.68                              0.00 462 036 342.68                      0.00             0.00 230 141 669.58 230 141 669.58 231 894 673.10


                                                                   Increases during the financial year                                                                                           Net value of fixed assets
                        Redemptions - as at                                                                                                                             Depreciation - as
                                                                                                                                      Total
                                                                                                                                                       Redemption
                                                                                                                                                                        at the end of the      position at the
                             the beginning of the year                           Depreciation for the                              increase in          reduction                                                          As at the end of the
                                                            Update                                                  Other           redemption
                                                                                         financial year                                                                   financial year                                      financial year
                                                                                                                                                                                                  beginning of the financial year
                               rotary

        1. Land                                                          0.00                462,527.81               0.00             462,527.81                0.00         462,527.81                         0.00             47,886,472.17

        2. Buildings                                                     0.00             2,378,622.11                0.00           2,378,622.11                0.00       2,378,622.11                         0.00             59,547,377.78

        3. Technical devices and machines. 4.                            0.00            11,366,635.24                0.00         11,366,635.24                 0.00      11,366,635.24                         0.00           104,650,162.73

        Means of transport                                               0.00                195,588.33               0.00             195,588.33                0.00         195,588.33                         0.00               1,467,302.40

        5. Other fixed assets                                            0.00                739,512.74               0.00             739,512.74                0.00         739,512.74                         0.00                 872,638.88

        6. Fixed assets under construction                               0.00                             0.00        0.00                    0.00               0.00                0.00                        0.00              2,327,832.91

        TOGETHER                                                         0.00        15,142,886.23                    0.00 15,142,886.23                         0.00 15,142,886.23                              0.00 216 751 786.87




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       7. INTANGIBLE ASSETS




        Year ended on 31 December 2021


                                                                                                                                                           Decrease of the
                                                   Initial           Increasing the initial value
                                                  value (gross)                                                                     Total
                                                                                                                                                               initial value                                          Total         Final value -
           Name of intangible assets             - state at the                                                                  increase in                                                                       reduction of     status at the end of
                                                  beginning                                                                        initial                                                                           the initial
                                                                                                                                                                                                                                        the financial year
                                                                                                                                 value                                                                             value
                                                 financial year
                                                                       Update               Revenue          Displacements                               Sale             Liquidation              Other




        Research and development costs                       0.00                             365,521.99                             365,521.99                                                                                               365,521.99
        Goodwill                                             0.00                                     0.00                                  0.00                                                                                                      0.00
        Other intangible assets                              0.00                          32,251,179.45                          32,251,179.45                                                                                           32,251,179.45


        TOGETHER                                             0.00                 0.00 32,616,701.44                      0.00           32,616,701.44          0.00                0.00                    0.00             0.00       32,616,701.44




                                                                                                                                                                             Net value of intangible
                                                        Increases during the financial year
                                                                                                                                                                          assets
                                                                                                                 Total                             Depreciation -
          Redemptions - as at the beginning of                                                                                   Redemption        as at the end of
                                                                                                               increase           reduction
                     the financial year                                                                        redemption                                                   position
                                                                                                                                                     the financial year                     As at the end
                                                                    Depreciation for          Other                                                                        at the
                                                                                                                                                                                                 of
                                                 Update
                                                                     the financial year
                                                                                                                                                                                              the financial year
                                                                                                                                                                          beginning of the financial year

        Research and development costs                                     42,644.21                                42,644.21                              42,644.21                0.00          322,877.78
        Goodwill                                                                  0.00                                    0.00                                  0.00                0.00                    0.00
        Other intangible assets                                        14,998,112.40                            14,998,112.40                         14,998,112.40                 0.00       17,253,067.05
        TOGETHER                                             0.00 15,040,756.61                       0.00      15,040,756.61               0.00      15,040,756.61                 0.00      17,575,944.83




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                 The value of land in perpetual usufruct as at December 31, 2021 was PLN 47,886,472.17 (as at December 31, 2020, the company did not own any land).
                 In 2021, the Company did not incur any costs of servicing liabilities incurred to finance fixed assets under construction (in 2020, it did not incur any costs of servicing liabilities incurred to finance
                 fixed assets under construction).




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            8. INVESTMENTS


               8.1 Short-Term Investments

                    Both as at December 31, 2021 and December 31, 2020. The Company did not have any short-term investments, excluding
                    cash and cash equivalents.

            9. ACCEPTABLE SETTLEMENTS



                                                              Year ended on    Year ended on
         (in PLN)
                                                              31 December 2021 31 December 2020
         Medium repairs                                                       1,522,246.14                              0.00
         Insurance policy Fees                                                1,112,358.00                              0.00
         for telek.courier services                                                1,918.00                             0.00
         Advertising Fees                                                        33,632.28                              0.00
         Subscription fees                                                       80,304.99                              0.00
         Together                                                           2,750,459.41                               0.00



            10. CAPITALS

                    As at 31 December 2021, the share capital of the Company amounted to PLN 5,000 five thousand.
                    As at 31 December 2020, the share capital of the Company amounted to PLN 5,000 five thousand

            11. PROFIT DISTRIBUTION/ LOSS COVERAGE


                    11.1 Profit distribution/loss coverage for the previous year

                 Pursuant to the Resolution of the Ordinary General Meeting of Shareholders of Liberty Czÿstochowa Sp. z o. o. of September 30,
                 2021, the net loss for 2020 in the amount of PLN 1,731,703.79 will be covered from the profits of the following years

               11.2 Profit distribution/loss coverage for the current year

                    The financial statements were prepared before the resolution on the allocation of the current year's profit was adopted

            12. RESERVES

                    The following changes in the status occurred in the reporting periods covered by the financial statements
                    reserves:



         Year ended on 31 December 2021
                                                       Deferred income
                                                         tax                Provision for retirement    Provisions for future     The remaining
                                                                                                                                                    Together
                                                                             and similar benefits        liabilities-CO2          reserves
         (in PLN)
         As of January 1, 2021                                       0.00                        0.00                    0.00             0.00             0.00
         Boosts                                             16,180,753.97              27,440,430.40            18,682,845.13            0.00 46 123 275.53
         Usage                                                       0.00                        0.00                         0          0.00              0.00

         Solution                                                    0.00                        0.00                    0.00             0.00             0.00

         As at December 31, 2021, including:                16,180,753.97              27,440,430.40            18,682,845.13            0.00 62 304 029.50

         Long-term                                          16,180,753.97              21,043,336.99                     0.00            0.00 37 224 090.96
         Short-term                                                  0.00               2,900,737.87            18,682,845.13             0.00 21,583,583.00




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         As at December 31, 2020, the company did not create any provisions




              13. WRITE-DOWNS ON RECEIVABLES

             In 2021 and 2020, the Company did not create any write-downs for receivables




         14. LONG-TERM AND SHORT-TERM LIABILITIES

               Liabilities maturity structure:



         December 31, 2021
                                                                                     up to 1 year       13 years          3 - 5 years
                                                                                                                                        over 5           Together
                                                                                                                                          years
         (in PLN)
          1. Liabilities towards related entities,                                327,663,278.58                   0.00        0.00         0.00 433 819 475.88
                                                                                                 0.00              0.00        0.00         0.00                   0.00
           including: a) due to deliveries                                        241 352 768.16 106 156 197.30                0.00         0.00 347 508 965.46
              and                                                                   86,310,510.42                  0.00        0.00         0.00 86 310 510.42
         services b) other 2. Liabilities to other entities,                       56,928,917.63                   0.00        0.00         0.00 56,928,917.63
           including:

              a) for supplies and services                                         38,033,882.32                   0.00        0.00         0.00 38 033 882.32
              b) bank credits and loans c) for                                                   0.00              0.00        0.00         0.00 0.00
             finance lease d) advance payments                                                   0.00              0.00        0.00         0.00                   0.00
             received for supplies 0.00 e) for taxes, duties, insurance and other benefits                         0.00        0.00         0.00                   0.00
             12,550,126.85 g) for remuneration 4,661,090.46 h) other                                               0.00        0.00         0.00 12 550 126.85
                                                                                                                   0.00        0.00         0.00        4,661,090.46
                                                                                     1,683,818.00                  0.00        0.00         0.00        1,683,818.00

         Total liabilities as at 31 December 2021                                 384,592,196.21                   0.00        0.00         0.00 490 748 393.51



         December 31, 2020
                                                                                     up to 1 year       13 years          3 - 5 years
                                                                                                                                        over 5           Together
                                                                                                                                          years
         (in PLN)
          1. Liabilities towards related entities,                                      21,539.33                  0.00        0.00         0.00           21,539.33
                                                                                                 0.00              0.00        0.00         0.00
           including: a) due to deliveries                                                       0.00              0.00        0.00         0.00                   0.00
              and                                                                       21,539.33                  0.00        0.00         0.00           21,539.33
         services b) other 2. Liabilities to other entities,                         1,299,365.30                  0.00        0.00         0.00        1,299,365.30
           including:

              a) for supplies and services                                             811,063.06                  0.00        0.00         0.00         811,063.06
              b) bank credits and loans c) for                                                   0.00              0.00        0.00         0.00                   0.00
             finance lease d) advance payments                                                   0.00              0.00        0.00         0.00                   0.00
             received for supplies e) for taxes,                                                 0.00              0.00        0.00         0.00                   0.00
             duties, insurance and other benefits g) for salaries h) other             170,320.70                  0.00        0.00         0.00          170,320.70
                                                                                       316,955.45                  0.00        0.00         0.00         316,955.45
                                                                                             1,026.09              0.00        0.00         0.00            1,026.09

         Total liabilities as at 31 December 2020                                    1,320,904.63                  0.00        0.00         0.00        1,320,904.63




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         15. SOCIAL ASSETS AND LIABILITIES

                     The Act on the Company Social Benefits Fund of March 4, 1994, as amended,
                    requires an enterprise with 20 or more employees to establish and operate a company social benefit fund. The
                   company manages such a fund by making the required write-offs.


                   The purpose of the fund is to co-finance the Company's social activities, loans for employees and other social
                   expenses. The fund consists of accumulated contributions to the fund reduced by non-refundable expenses of the
                   fund. The assets presented in the table below are not
                     actually controlled by the Company. Cash allocated to the Social Fund and other assets of the Funds are
                   restricted and therefore cannot be used by the Company for its own benefit.

                   The composition and type of assets, liabilities and costs related to the Social Fund are presented in the table below:



                   Assets and liabilities, receipts and expenses of the company's social benefits fund




                                                                                               December 31, 2021            December 31, 2020
         (in PLN)
         Revenues of the Company Social Benefits Fund (opening balance + write-off)
                                                                                                             1,939,300.59                          0.00
         ZFÿS expenses for holidays, summer camps, camps
                                                                                                             1,230,690.00                          0.00
         Expenses of the Company Social Fund for material and financial assistance
                                                                                                               653,610.00                          0.00
         ZFÿS balance
                                                                                                              55,000.59                           0.00



         16. FUNDS IN THE VAT ACCOUNT

                   As at December 31, 2021, there were cash in the VAT bank account in the amount of PLN 880,819.17.

         17. PREPAYMENTS


                                                                                                           Year ended on 31                     Year ended on 31
                                                                                                             December 2021                      December 2020
         (in PLN)
         Negative goodwill                                                                                                  27,294,254.12                      0.00
         Other accruals, including:                                                                                         17,178,044.43                      0.00
            - CO2 emission rights                                                                                           17,178,044.43                      0.00
         Together                                                                                                           44,472,298.55                      0.00




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             18. LIABILITIES SECURED BY THE ENTITY'S ASSETS

                  The company had no liabilities secured on its assets.



             19. CONTINGENT LIABILITIES, INCLUDING GRANTED BY THE ENTITY
                  GUARANTEES AND SURETIES, INCLUDING PROmissory Notes
                As at December 31, 2021 and December 31, 2020, the Company did not have any contingent liabilities, including any
                guarantees and sureties granted.



             20. OFF-BALANCE SHEET LIABILITIES

                As at December 31, 2021, the Company had no off-balance sheet liabilities.
                As at 31 December 2020, the Company had no off-balance sheet liabilities.



            21. PROPERTY AND TERRITORIAL STRUCTURE OF SALES




         The material structure of sales revenue in 2021 and 2020 was as follows:
                                                              Year ended on day              Year ended on day
                                                            December 31, 2021              December 31, 2020
         Type of activity (in PLN)
         1. Products                                                                                           0.00
         2. Services and materials                                   1,147,219,223.62                          0.00
         Total net sales                                             1,147,219,223.62                          0.00




         The territorial structure of sales revenues in 2021 and 2020 was as follows:
                                                              Year ended on day              Year ended on day
                                                            December 31, 2021              December 31, 2020
         Area of activity (in PLN)
         1. Domestic revenues                                             28,675,955.14                        0.00
         2. Export revenues                                          1,118,543,268.48                          0.00

         Total net sales                                             1,147,219,223.62                          0.00




         22. WRITE-DOWNS ON FIXED ASSETS AND FIXED ASSETS IN
               CONSTRUCTION




                In 2021 and 2020, the Company did not create impairment losses on fixed assets and fixed assets under construction.



         23. WRITE-DOWN ON INVENTORY

                   In 2021 and 2020, the Company did not create any write-downs for inventories




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         24. INFORMATION ON REVENUE, COSTS AND RESULTS OF ACTIVITIES DISCONTINUED IN THE FINANCIAL
                YEAR OR INTENDED TO BE DISCONTINUED IN THE FOLLOWING YEAR
                    In the financial year, the Company did not discontinue any type of activity. In the next financial year, it does not
                    plan to discontinue any type of activity.

         25. OTHER OPERATING INCOME




                                                                                                                  Year ended              Year ended on 31
                                                                                                                  on December 31,         December 2020
         (in PLN)                                                                                                    2021

           Profit on disposal of non-financial fixed assets Subsidies                                                              0.00                   0.00
                                                                                                                             112 376.00                   0.00
           Revaluation of non-financial assets.                                                                                    0.00                   0.00
           Other operating income, including:                                                                           3,086,516.55               2,808.96
             - compensation                                                                                                  846,480.14                   0.00

              - reversal of the provision for future liabilities, including: - reversal                                 1,526,112.68                      0.00
                       of the provision for unused leaves - reversal of the                                                  562,222.51                   0.00
                       provision for jubilee awards - reversal of the provision                                              590,307.28                   0.00
                       for retirement and disability benefits - reversal of the provision                                    197,180.31                   0.00
                       for contributions to the Company Social Benefits Fund                                                 176,402.58                   0.00
           Revenue related to used emission allowances                                                                       131,191.15                   0.00
           Negative goodwill write-down -                                                                                    580,728.81                   0.00
               other                                                                                                           2,003.77                   0.00

           Other operating income, TOTAL                                                                                3,198,892.55               2,808.96




         26. OTHER OPERATING COSTS




                                                                                                    Year ended on 31            Year ended on 31
         (in PLN)                                                                                   December 2021               December 2020


         I. Loss on disposal of non-financial non-current assets                                                       0.00                        0.00

         II. Revaluation of non-financial assets                                                                       0.00                        0.00

         III. Other operational costs                                                                           135,846.01                         0.15

         Other operating costs, TOTAL                                                                           135,846.01                         0.15




                                                                                                                                                          10

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         27. FINANCIAL REVENUE




                                                                                            Year ended on 31                Year ended on 31
         (in PLN)                                                                           December 2021                   December 2020
         I. Dividends and Profit Shares                                                                          0.00                          0.00
         II. Interest                                                                                            0.00                          0.00
         III. Profit on the sale of financial fixed assets IV. Revaluation                                       0.00                          0.00
         of financial assets                                                                                     0.00                          0.00
         V. Other                                                                                                0.24                          0.00

            Financial income, TOTAL                                                                              0.24                          0.00




         28. FINANCING COSTS




                                                                             Year ended on 31           Year ended on 31
         (in PLN)                                                            December 2021              December 2020
            I. Interest, including:                                                   5,876,886.98                  19,723.66
            - interest for related companies -                                        5,866,231.35                  19,723.66
            interest for other contractors                                                7,301.77                            0.00
            - budget interest                                                             3,353.86                            0.00
            II. Loss on disposal of                                                              0.00                         0.00
            investments III. Revaluation of                                                      0.00                         0.00
            investments IV. Other, including:                                         6,362,514.31                 723,518.61
               - exchange differences                                                 6,362,423.92                            0.00
               - the remaining                                                                  90.39              723,518.61

            Financial costs, together                                                12,239,401.29                 743,242.27




              28. INFORMATION ON THE AVERAGE EMPLOYMENT, BY OCCUPATIONAL GROUP




                                                              Year ended on 31            Year ended on 31
                  A group of employees
                                                              December 2021               December 2020


                Management                                                            0                                 0

                White-collar workers                                                298                                 2

                Manual workers                                                     830                                  4
                Employment together                                               1128                                  6




         30. INFORMATION ON REMUNERATION OF AUDIT COMPANIES

                 The report for 2021 was audited by the Statutory Auditor. The amount of remuneration is PLN 80,000 net.



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         31. INFORMATION ON REMUNERATION, INCLUDING PROFIT REMUNERATION, PAID OR DUE TO PERSONS
               COMPOSING MANAGEMENT AND SUPERVISORY BODIES


               Both in the financial year ending on 31 December 2021 and in the previous year, the Company did not pay any
               remuneration.

         32. INFORMATION ON LOANS AND SIMILAR BENEFITS GRANTED
             PERSONS COMPOSING THE MANAGING BODIES
             AND SUPERVISORY

               Both in the financial year ending on 31 December 2021 and in the previous year, the Company did not grant any loans
               or benefits of a similar nature to members of the management, supervisory or administrative bodies.




         33. FINANCIAL INSTRUMENTS

               Objectives and principles of financial risk management

               The Company is exposed to market risk, including primarily the risk of changes in interest rates and exchange rates.

               The Company is exposed to currency risk due to the concluded transactions. Such risk arises as a result of sales or
               purchases made by the operating unit in currencies other than its valuation currency.

               The Company does not enter into forward transactions intended to protect against currency risk. During the financial
               year, the Company did not make any transactions with the use of financial instruments.
               The Company does not hold or issue derivative financial instruments for trading. The book value of financial assets
               and liabilities presented in the balance sheet does not significantly differ from the fair value.




            34. WITHDRAWAL FROM PREPARING CONSOLIDATED FINANCIAL STATEMENTS
               Consolidated financial statements for the capital group are prepared within the Liberty Group.




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